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         ORDERED that Plaintiff Nano Fire LLC’s motion for Authorization to Include Deadline

  to Amend Patent Infringement Contentions in Parties’ Proposed Scheduling Order, (ECF

  No. 77), is hereby GRANTED.

         ORDERED        that   the   parties   shall   meet-and-confer,   and   submit   a   revised

  pretrial scheduling order for the Court’s consideration on or before July 3, 2025.




                                                        s/ Cathy L. Waldor
                                                        _________________________________
                                                        HON. CATHY L. WALDOR, U.S.M.J.




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